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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
JEFFREY BARHAM )
et al., )
)
Plaintiffs, ) Case No.: 02-CV-2283 (EGS)
)
)
)
CHARLES RAMSEY, )
et al., )
)
Defendants. )
)
ORDER

Upon due consideration of Defendant District of Columbia For An Order Providing for
Expungement of Plaintiffs' Arrest Records and Precluding Defendants From Opposing Plaintiff's
Motion for Orders Permitting Plaintiffs to Deny Having Been Arrested and/or For the Sealing of
Their D.C. Superior Court Arrest Records and the record herein, it is this AS TAisy of
January, 2008, hereby

ORDERED that:

1. The District of Columbia shall provide for the expungement of the Barham
Plaintiffs' (Jeffrey Barham, Mary Canales, William Durham, Noah Falk, Jorge Garcia-Spitz,
Mark Allen Jackson, Casey Legler, Charlcie Legler, Brian McAteer, Joseph Phelan, Nicole
Djeddoui-Prichard, Morgan Ress, Laury Saligmen, Macdonald Scott, Miles Swanson, Jeri
Wohiberg, Lesley Wood, Samantha Young, and Stephen Zimmerman) arrest records and for
those of the absent class members (all persons arrested on September 27, 2002 mass arrest of

persons that took place in Pershing Park) relating to the September 27, 2002 arrests that are
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maintained by the District of Columbia within ten days of the last of these events: entry of final
judgment by this Court regarding all Plaintiffs’ and class members’ claims herein; disposition of
all appeals; denial of any appeal or petitions for writ of certiorari to the Supreme Court of the
United States;

2. The District of Columbia shall restrict access to the September 27, 2002 arrest
records of the Barham Plaintiffs and absent class members to the arrestees, their counsel, and
counsel for any party in this case or in Chang v. United States of America, Civ. No. 02-02010
(EGS) (AK). This access should be limited to that reasonably needed for the prosecution or
defense of the matters relating to the litigation of this case or Chang.

3. The arrests of the Barham Plaintiffs and the absent class members are hereby
declared null and void. Each of the Barham plaintiffs and the individual absent class members is
authorized to deny the occurrence of his or her arrest that day, without being subject to any
penalty of perjury, fraud or other offense premised upon misrepresentation or deception in
response to any inquiry, whether posed orally or in writing. These rights accrue to the full benefit
of any absent class member regardless of whether an individualized entry of a nullification order
(see paragraph 4, below) is entered. This Court shall retain jurisdiction of this case for the limited
purposes of enforcing the rights of the Barham Plaintiffs and absent class members under this
paragraph;

4. Counsel for the Barham Plaintiffs will file with the Clerk of the Court, under seal,
paper copies of draft orders, one for each Barham Plaintiff, bearing the case caption and stating

as follows:

ORDER

The arrest of [insert name, date of birth, and social security number] on
September 27, 2002, in the District of Columbia is hereby declared null and void.
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[Mr. or Ms, insert last name] is authorized to deny the occurrence of his or her
arrest that day, without being subject to any penalty of perjury, fraud, or other
offense premised upon misrepresentation or deception in response to any query,
whether posed orally or in writing.

So Ordered on this day of , 2008.

 

EMMET G. SULLIVAN

United States District Judge

When signed, the Clerk will file the orders under seal, and mail certified copies to
counsel for Plaintiffs.

5. The District of Columbia is to use its best efforts to procure the expungement of
the September 27, 2002 arrest records of any Pershing Park case Plaintiff or absent class member
in the possession of the United States Government (including, but not limited to, the Federal
Bureau of Investigation), any state or local government within ten dats of the last of these events:
entry of a final judgment by this Court regarding all Plaintiffs’ claims herein, disposition of all
appeals; denial of any appeal or petitions for writ of certiorari to the Supreme Court of the
United States;

6. The District of Columbia is to inform the Barham Plaintiffs and absent class
members, through counsel, if they are unable to procure the expungement of the Barham
Plaintiffs' arrest records maintained by the United States government and/or other state or local
law enforcement agencies for any reason. If they are unable to procure such expungement, the
District of Columbia is directed to describe, in writing, the agencies that maintain records, the
types of records maintained, the reasons for the failure to expunge, and the steps taken by the

District to have the records expunged.
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7. The Metropolitan Police Department ("MPD") shall, upon the commencement of
its efforts to expunge the records of the Barham Plaintiffs and absent class members, provide the
FBI with a list of individuals arrested in Pershing Park by the MPD on September 27, 2002
whose arrest records are to be expunged. Upon receipt of the list, the FBI shall expunge from its

records and databases all records pertaining to the arrest on September 22, 200

  

individuals identified by the MPD.

 

‘EMMET G. SULLIVAN
United States District Judge

Serve on:
All Counsel of record
